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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 1:14-cv-22797-JLK


 LAZARO OJEDA,

        Plaintiff

 v.

 BLUE LINE DISTRIBUTION, INC.., et al.,

        Defendants.
                                             /

               PLAINTIFF’S MOTION FOR DISMISSAL WITH PREJUDICE

        The Plaintiff, pursuant to Fed. R. Civ. P. 41(a)(2), hereby requests that this Court enter

 the attached proposed order dismissing Plaintiff’s Claims WITH PREJUDICE.


        WHEREFORE, the Plaintiff respectfully requests this Court enter an order dismissing

 this action with prejudice.


        DATED: October 17, 2014


                                                     /s/ Anthony M. Georges-Pierre
                                                     Anthony M. Georges-Pierre, Esq.
                                                     Florida Bar No. 533637
                                                     REMER & GEORGES-PIERRE, PLLC
                                                     44 West Flagler St., Suite 2200
                                                     Miami, FL 33130
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                                                     Attorney for Plaintiff
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        I HEREBY CERTIFY that on October 17, 2014 I electronically filed the foregoing
 document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document
 is being served this day on all counsel of record or pro se parties identified on the attached
 Service List in the manner specified, either via transmission of Notices of Electronic Filing
 generated by CM/ECF or in some other authorized manner for those counsel or parties who are
 not authorized to receive electronically Notices of Electronic Filing.


                                                   By: /s/Anthony M. Georges-Pierre
                                                   Anthony M. Georges-Pierre, Esq.
                                                   Florida Bar No.: 0533637
